      Case 4:21-cv-00322-SHR Document 12 Filed 10/26/21 Page 1 of 2



 1
 2
 3
 4
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   David Smith,                                      No. CV-21-00322-TUC-SHR
10                  Plaintiff,                         Order Dismissing Case
11   v.
12   Edna Lara, et al.,
13                  Defendants.
14
15
16          Plaintiff has filed a Notice of Dismissal (Doc. 11) wherein he states: “The Plaintiff

17   hereby gives notice, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil
18   Procedure, that he voluntarily dismisses, with prejudice, Count Two and Count Three of

19   the Complaint (Doc. 1).”

20          In the October 13, 2021 Screening Order (Doc. 8), the Court dismissed Count One
21   and dismissed the Bivens claim in Count Two of Plaintiff’s Complaint, and ordered
22   Defendants to answer the claim for injunctive relief in Count Two and Bivens medical

23   claims in Count Three. Thus, the only counts in this case are Counts Two and Three, which

24   Plaintiff now moves to dismiss with prejudice.

25          Rule 41(a)(1)(A)(i) allows a plaintiff to “dismiss an action without a court order by

26   filing” “a notice of dismissal before the opposing party serves either an answer or a motion
27   for summary judgment.” It is well settled that under Rule 41, “a plaintiff has an absolute
28   right to voluntarily dismiss his action prior to service by the defendant of an answer or a
       Case 4:21-cv-00322-SHR Document 12 Filed 10/26/21 Page 2 of 2



 1   motion for summary judgment.” Commercial Space Mgmt. Co., Inc. v. Boeing Co., Inc.,
 2   193 F.3d 1074, 1077 (9th Cir. 1999) (quoting Wilson v. City of San Jose, 111 F.3d 688,
 3   692 (9th Cir.1997)).    Because Defendants have not answered, Plaintiff’s Notice of
 4   Dismissal (Doc. 11) is effective and terminates this action.
 5          Accordingly,
 6          IT IS ORDERED Plaintiff’s Notice of Dismissal (Doc. 11) is GRANTED.
 7          IT IS FURTHER ORDERED Counts Two and Three of the Complaint (Doc. 1)
 8   are DISMISSED with prejudice.
 9          IT IS FURTHER ORDERED the Clerk of Court shall docket accordingly and
10   close this action.
11          Dated this 25th day of October, 2021.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                -2-
